#'   'Jr
     a ..   CT Corporation                                                        Service ofProcess
                                                                                  Transm ittal
                                                                                  08/02/2016
                                                                                  CT LogNumber529605684
            To:     Cammie Koch
                    Dominion Resources,Inc.
                    120TredegarSt
                    Richmond,VA 23219-4306

            RE:     Process Served in Virginia
            FORI Virginia Etectricand PowerCompany (DomesticState:VA)



            ENCLOSED ARE CoPlEs OF LEGAL PROCESS RECZIVED BY THE STATUTSRY AGENT OF THE ABW E COMM NY AS FOLLOW S:

            TITLEOFM TION:                    DONNAKINSE; Pttf.vs.VIRGINIA ELECTRICAND POWERCOMPAN; Dft.
            DocuMENT(s)SBRVED:                SummonsyComplaint
            COURT/AGENCY:                     Rockingham County CircuitCourt,VA
                                              Case # 165CL1500187400
            NATUREOFACTION:                   PersonatInjury-FaituretoMaintainPremisesinaSafeCondition
            oN wHOM pRocEsswAs SERVED:        C T Corporation System,Gten AttenzVA
            PATE AND HOUR OFSERVICE:          By ProcessServerOn08/02/2016 at09:30
            uuR1sDIcTIoN SERVED:              Virginia
            Appeau NceOR ANswnR puE:          Within21daysaftersuchservice
            A= oRNEY(s)lsENDER(s):            David S.Baitey
                                              The EnvironmentatLaw Group,PLLC
                                              5803 STAPLESMILL ROAD
                                              RICHMOND,VA 23230
                                              804-433-1980
            ACTI/N ITEMS:                     CT hasretained the currenttog,Retain Date:08/02/2016,Expected Purge Date:
                                              08/07/2016
                                              Image S0P
                                              EmaitNotification, GeorgeW Marget,III george-marget@dom.com
                                              EmaitNotification, Cammie Koch cammie-g-koch@dom.com
                                              EmaitNotification, Susan X Coteman susan-coteman@dom.com

            SIGNED:                           c T Corporation System
            ADDRESS:                          4701Cox Road
                                              Suite 285
                                              GtenAtten,VA 23060
            TBLEPHONE:                        804-217-7255




                                                                                                                              EXHIBIT
                                                                                                                      !
                                                                                  Page 1of 1/K J
                                                                                  InfonnationdisplayedonthistransmittatisforCT
                                                                                  Corporation'srecordkeepingpurposesontyand isprovidedto
                                                                                  therecipientforquickreference.Thisinformationdoesnot
                                                                                  constitutealegatopinionastothenature ofaction,the
                                                                                  amountofdamages,the answerdate,oranyinformation
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      Case 5:16-cv-00058-EKD Document 1-1 Filed 09/01/16 Page 1 of 17 Pageid#: 5
                                CO M M O N W EA LTH O F W R G IN G
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                                       RO CU G HAM CIRCU IT COU RT
                                               CivilDivision
                                              80COURT SQUARE
                                           HARRISON BURG VA 22801
                                                  (540)564-3000
                                                       Sum m ons


         To:CT CORPOM TION SYSTEM                                                         Case N o.16561 15001874-00
              VIRGINIA ELECTM C AN D POW ER
              COM PAN Y
              4701 COX ROAD
              SIJITE 301
              GLEN ALLEN V A 23060

         Theparty upon whom thissum monsand theattached complaintareserved ishereby notitied
         thatunlessw ithin 21 daysaftersuch service,response ism ade by filing irlthe clerk'softice
         ofthiscourta pleading in m iting,in properlegalform ,the allegationsanduchargesm ay be
         taken asadmittedandthecourtmay enteranorder,judgment,ordecreeagainstsuchparty
         eitherby defaultorafterhearing evidence.
         Appearance in person is notrequired by this sllm m ons.
         Done in the nqm e ofthe Com m onw ealth ofV irginia on,Friday,Jply 29,2016

         Clerk ofCourt:CHAZ,
                           W .HAYW OOD

                                  by
                                                                        (CLERK/DEPUTYCLERK)
    lnstnlctions:



H earing O ffk ial:




A tt                  B A 11,EY ?D AVD S
   orne/sname:        5gçgs'raptzsMILL ROAD
                      RICHM ON D VA 23230

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                                                                 ROCKINGHAM GOUNR VA
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                                                                             A4' 21 2115
                                                                       *v
                                                                       .
                                                                       j
VIRGINIA:                                                            .
                                                                     ' '' DEPUTY CLERK
            IN THE CIRCUIT COURT FOR THE COUNW OF ROC lNG AM

DONNA KINSEY,

       Plaintiff,

V.                                             ci
                                                vi
                                                 lActi
                                                     onNo.(;/6-.
                                                               -/JZH
VIRG INIA ELECTRIC AND POW ER
COM PANY,
       Defendant.



                            COM PLAINT FOR DAMAGES

       Donna Kinsey,bycounsel,bringsthiscivilaction forpersonalinjuryresulting
from the unnoticed placem entofan electric m etering device known as a smartmetecon

herresidence.
                                       VENUE

      Venue is properin this Coud asthe Plaintiff's rèsidence and the place where this

claim 'arose,areRbothylocated.in Rockingham County.

                                       PARTIES
       1.     PlaintiffDonnaKinsekisareàidèntinRockingham County,owninga
hom e with herhusband Iocated at6910 M iracle Springs Road,Elkton,Virginia.Plaintiff

became ill,along with otherfam ily mem bers afterthe Defendantinstalled,withouther
knowledge,two smartm eters on herproperty in March 2012. Quickly afterthe

installation'plaintiffbegan to suffera hostofsymptoms having no othe- ise identifiable
source ordiagnosis. Afterdi
                          scoveryofthe smartmeters,Plaintiftproceededalonga
Iong course to have the devices rem oved which did nptoccuruntilAprilof2014.




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            Plaintiffrem ainsw ith m any symptoms causing illness and distress and worries

            constantlyaboutherdaughter,who sufferedfarmore severinjuryafterthesmart
            m eterswere installed.

                  2.     Virginia Electric and PowerCompany,which trades as Dom inion Virginia

            Power(hereafter''Va.Power'),is a Iargeelectric utilitycompanyserving Iarge areasof
            Virginia,including the Plaintiff's hom e.As a public utility,Va.Powerhas the rightto
    -
            trespassuponprivatepropeë 'forpurposesofelectricservice,and'pursuanttothat
            authority installed two sm artmeters and a trahsm ission relay device station on the

            Plaintifrsproperty aspartofanexperimeniaIprogram formeterscapable of
            transm itting signals to a centralreceiving area,negating in pad the need formeter
            checking and presumably giving Va.Powermore information aboqtèlectric usage ih

            realtim e.

                                     BACKGRO UND AND INFORM ATIO N

                  3.     Paragraphs 1-2 are realleged ;nd incorporated herein.
                                                                             -                   .. .
                                                     .. *.. ...              'w                       <... ,. ,
                                                .              .


                         Plaintiffis a retired police officerwho m oved to Virginia from Florida in
                                                      -
                                                          a.       -    ='           ..- .         -                       r
                                                                                                                      ..
        '
            2009: Plat
                     intiff'sfpmilybuiltthe home in2008,whichisloçated at6910 Miracle Springs
'   .. .
            Roads nearElkton,Virginia,with'herhusband,Glen Kinsey and herdaughter,Sarah
            Kinsey.
                                                                                 -           .               '
                                                                                                              .   j

                  5.     Plaintiffm oked into the hom e ih 2009 and Iived foryears withoutincident
        orunusualillness foranyfam ily m em beruntilMarch 2012.

                  6..    On oraboutM arch 2012,the exactdate unknown because the installation
        was concealed from Plaintiff,Va.Powerinstalled two ''sm artm eters,''electricalm etering  '
                                            s


        devices developed to independently transm i
                                                  tdata on eleqtric use to a receiving tower,
                                                           2



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on the Plaintiff's property. O ne meterwas installed on a barn about'loo yardsfrom the

home,thesecond meterwasinstalled directlyontheside ofthehouse adjacentto
living areas,and a transm ission relay device was mbunted on a nearby utility pole.

         7.   The house-located sm artmeterwas installed on an exteriorwalldirectly

opposite the hom e office and work area ofthe Plaintiff,which isthe sam e room that

Plaintiffand herhusband sleptin,and Plaintiff's deskand work area were about2 feel
from the installed smartm eter. The transmission relay device is Iocated on a pole
                                                             .




about225 feetfrom the hom e.

         8.   In late March 2012,Plaintiffbegan to-experience a wide range of
                                       .




debilitating sym ptoms which defied diagnosis. Plaintiffhad mood swings,trouble

concentrating,insominia,memoryIoss,riniing in herears,and hairlosson herhead          .

                                                             h

and eye lashes. Plaintiffbegan crying frequently forno apparentreason,could not

sleep orwork.'Plaintiffhad no such health issues beforerthis time.
      9.      Inthe fallof2012*,around Novem ber,Plaintil was seam hing the internet
forpossible causes ofthe ringing in herears,phich had become very troublesome.
                                                  .




During this search,the internetsources crossconnected to sm ad m eters.

      10. Afterlookingatthe picturesofsmartmeters.onthe iqlernet,Plaintiffwent
outside and discovered forthe firsttime that'
                                            such a m eterwas infactinstalled on her
hom e.

      11. Plaintiffthen begen a.long and det4iled effortto qom m unicate with Va.
Powerto getthe sm artm eters rem pved butencountered considerable resistence from
Va.Power.

      12. Virginia Powerrefused to rem ove the sm artmeters asserting thatPlaintiff
                                           3



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 was partofan experimentalprogram ,maintained thatthe meterswere safe,and stated

 thatremovalwould notbe considered untila later''opt-out''program was offered,with

 no date specified when she could opt-out.
        13.      AfterPlaintiffcoptinued to complain aboutadverse health effects

 experienced by herand herfam ily,a Va.Powerrepresentative came to the hom e and

 offered to m ove the sm artmeterseveralfeetaway from the home and place iton a
 pole. However,the'costofsuch m ove,severalthousand dollars,would have to be paid

 by Plaintiff.
        14.      The representative also said thatVa.Powerwould only be responsible for

 powerto the pole mounted m eter,and aIIconnections to the home would be the

 com plete responsibility ofthe Plaintiff.
        15.      Plaintiffalso Iearned thatherhom e was the only hom e in her

 neighborhood where the Defendantinstalled sm artm eters. Unlike the Plaintiff,her

 neighbors have gated entrances to theirproperties.

        16. Plaintiffretained counseland an inspection was arranged ofthe smart
 m eteratPlaintifrs hom e,
       17. Although testing ofthe hom e sm artm eterin April2013 seem ed to

 indicate the m eters were functioning norm âlly,Plaintiffhad beentold earlierby a Va.
 Powermaintenance person,who inspected the meters priorto the Aprilinspection,that

the meterswere notworking properly.W hatcoirections,ifany,were madetothe
m eters atthattime is notpresently known to Plaintiff.

       18.       Upon notification ofherabilityto ''opt-out''ofthe experimentalprogram ,

Plaintiffimmediatelyrespondedwithwritteiacceptance oftheofferto ''opt-out''.
                                              4



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 Nothing happened. Plaintiffwàs eventually contacted by the Defendantasking her

 whethershe wanted to opt-outbecause the Defendantthoughtshe mightwantto do so.
 Finally,the Defendantacted on Plaintiffssecond requestto ''opt-out''.

        19     However,Va.Powerrefused to rem ove the installed smartmeterand

 indicated thatinstead itwould ''disable''thetransm itting capability ofthe smaltm eteras

 partofthe opt-outprogram . Plaintiff's illness continued.

       20. Afterthe meterhad been ''
                                   disabled''by Va.Power,a Va.Power
 inspectorinformed Plaintiffthatthe ''
                                     disabl
                                          ed''smartmeterwas notdisabled,butwas in

 factcontinuing to transm itdata and was notworking properly.

       21. Va.Powerfinally agreed to remove the sm artmeterfrom the hom e. The
 feplacem entmeterwould be anothersm artmeterwith itstransmission capability

 disabled.

       22.    Plaintiffstillsuffers serious effects and sym ptom sforwhich Plaintiff's
 medicalproviders can find no alternative explanation otherthan herexposure to the

 electromagnetic em issions from the sm artmeters.

       23. The safety ofsmartm etersystem s is controversial,and health effects are.
 stillbeing studied. Nevedheless,the American Academy ofEnvironm entalMedicine,a

 speciali
        zed group ofdoctors and scientists released a position paperon October23,
2013 thatthe ''
              peerreviewed,scientific literature dem onstrates the correlation between

EMF (electromagneticfrequencies)and RFIradiofrequency)(also knownasradio
frequencyradiation (RFRIJexposure and neurological,cardiac,and pulmonarydisease
aswellas reproductive di
                       sorders,im m une dysfunction,cancerand otherhealth

conditions''and the ''evidence is irrefutable.''




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         24.   The RF radiation from W ireless SmartMeters is particularly threatening to

 health because itis so persistentand powerful.Certain sm artm eters used in California

 and in Maryland issue pulses ofRF radiation,on average 10,000 tim es perday,and up
 to a m axim um 190,000 tim es perday,24/7. The powerlevelofeach pulse is about

 1000 milliwatts,placing wirelesssm artmeters among the m ostpowerfulradio
 frequency radiators Iikely to be presentin a residentialenvironm ent.

         25. Studiesshow thatpulse modulated RFR causesoxidative injuryinIiver,
 Iung,testis and hearttissues mediated by Iipid peroxidation,increased levelofNOx and
 suppression ofantioxidantdefense m echanism s.

         26. FederalCommunicationsCommission (FCC)regulationsprotectonly
 againstgross overheating and do notprotectfrom biologicalharm caused by Iow or
 ''non-therm al''levels ofm icrowaves. W ireless sm artm eters em itnon-therm alIevels

 24/7.

         27.   According to the US EnvironmentalProtection Agency,'The FCC'S

 current(radio frequency/microwave)exposure guidelines,aswellasthoseofthe
 lhstitute ofElectricaland Electronics Engineers (IEEE)and the International
 Com mission on Non-ionizing Radiation Protection,are therm ally based,and do not
 applyto chronic,non-therm alexposure situations'. .. .the generalization by many thatthe

 guidelinesprotecthumanbeingsfrom harm byanyoraIlmechanismsis notjustified-'
 NorbertHankin ofthe EPA'S Office ofAirand Radiation,CenterforScience and Risk

Assessment,Radiation Protection Division,July 16,2002.
         28.   The FCC guidelines can show a device to be unsafe,butcannotprove

thata device is safe.Non-thermallevels ofexposure are sim ply notregulated by the

                                            6



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 FCC.

        29.    The W orld HeaIth O rganization's InternationalAgency forResearch on

 Cancer(IARC)hasclassifiid microwave radiation,specificallyincluding thatemitted by
 sm artm eters,as a ppssible Group 2B human carcinogen.

        30; Thete are thousands ofpeer-reviewed studies showing potentially harmful
 biologicaleffects ofnon-thermallevels ofmicrowave radiation. Som e ofthese studies

 were done with humans,and mostwere on mamm alswith nervous systems and

 biochem istry sim ilarto hum ans.

        31.    W irelesssmartmeters and wireless mesh systemb affecthum an biology
 and health.

        32.    No form alresearch ortesting has been done on the effects ofsm artm eter

 em i
    ssions on hum ans,with the exception ofthree differentsurveys which reporthum an

 sensitization to sm artmeterem issions resulting in unusualand severe'
                                                                      . insomnia,
 headaches,tinnitus and heartarrhythm ias,

        33. Theterms''
                     electrohypersensitivity''(EHS),orElectricalSensiti
                                                                      vity(ES),
 have been.used to describe a constellation ofsymptoms,including headache,sleep

 disturblnce,difficulty in concentration,m em ory disturbance,fatigue,depression,

 irritability,dizziness,m alaise,tinnitus,burning and flushed skin,digestive disturbance,

 tremor,and cardiac irregularities. Sleep disturbance,headache,nèrvous distress,
 fatigue,and concentration di
                            fficulties are the m ostcom m only described sym ptoms.
These sym ptom s are identicalto the sym ptoms of''m icrowave sickness*'
                                                                       described by

 Russian physicians in the 1950's.

       34.     In m ostplaces they are installed,wireless sm artmeters create a minor




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        epidemicofElectricalSensitivity(ES).ES isakindofphysicalallergyto
        electromagneticfields(EMF).Smartmetersseem to be theworstofthe sensitizersthat
        initiate ES inprevio'uilynormalpeople.                                                 *
               35.   Afterthe initialsenéitization,sm artmeterexposure continuesto re-trigger

        the disabling symptoms. M any persons with ES are notable to rem ain productive

        m em bers ofsociety,orto find a plaqe thatis safe forthem to live.
               36., From the few studies thathave been done on hum ans,pulsessim ilarto

        thatfrom sm artm eters cause changes in brain waves even in persons without
                                                                        '
                                      .

        symptomsofES.From thousandsofbioloéicalstudieson the effects oflow levels of
        EM F,itis highly likely thatemissionsfrom sm aftmeters affecteven the general

        populationv'The mostnoticeable effects in the shorbterm m ay be anxiety and insom nia.

        Also likelyare sublim inalchanges in neuropsychologicalfunctions,leakage ofthe

        biood-brain barrier,increaped oxidetive dam age including DNA breakage,and

.),
  '':r
     t.
      elt susceptibilityto auto-immune diseasesand cancer.
      ; 1.

              37.
                : '-Defendantfaiied to'
                                      disclose to Plaintiffthatindustry experts and scientific

        studyresultsdifferasto the risksand biolojicaleffectsthatarise from smartmeteruse.       . ..




              38.    Defendantfailed to m easure and collectthe SpecificAbsorption Rate

        (''SAR'')ofthesmartmeteremissionswhich is'ameasurementofhow much radiation
        passes through tissue.during a specified time pefiod..Defendanlfailed to inform that
        the SAR measurements are notthe productofa rigid testing and review,butrather

        obtained through a self-cedification process and m easures onlythe potentialtherm al
        aspects ofharm from shortterm exposure as opposed to the potentialnon thermal

        aspects ofharm from prolonged exposure,which is where the controversy Iies.
                                                  8



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  *




                    39. AI1three m em bers ofthe Kinsey household becam e sick ata similartime
             afterinstallation ofthe sm artm eters,and have suffered some similarsymptom s.

                    40. Plàintiffretired as a.Majorinthepolice force. Plaintiff'srankwasthird'
             from the com mand. Am ong Plaintiff's duties,she supervised over100 personnel,

             m anaged and conducted both the firearm : training and the comm unicationsoperations,

             and she was responsible fo?accreditation.'Plaintiffalso was responsible fordrafting

             police'
                   force policies involving high-liability..instruction. Plaintiffwas a high functioning
             m anagerwho was capable ofm ultifaceted work.-

                   41      Plaintiffstahedaconsultingdiisinessbeforesheretiredfrom thepolice
             force through'which she provides training and instruction. Since herinvoluntary

             exposuré to EM F/RFR,Plaintiffhas had diffièulty
                                                            . doncentrating even on one taskata
          time bècauseherthoughts race aroundkPlaintiff'scondition isdepressingtoher
             because she knows whatshe was capabl
                                                e ofbefore herexposure. Plaintiff's work can'
                                                                                            i,..
 .
. .  lljl'
         ? .be interrupted'by spontaneous nose bleeds'
                                                     w hich she neverexperienced before in her... ...
         '
             Iife. Plaintifrsrelationship with-herhusband hassuffered due.tothe Iostdesirefor
         .
          intimacy..'Thè injurieshaveturned.Plaintiffs.life.upsidedown,and shesuffersfrom a = ...- .L...
                                                                                                       z.:ï
                                                                                                          .';
          tremendous sense ofguiltfrom-being unable to protectherdaughterwho also has been

          injured byth: involuntary EMF/RFR exposure.'
                   42.''-''Plaintiffalso spentthousands ofdollars'bn watertesting and.otherhealthu . .:
         screenings to tryto determ ine w hatwasem akipg hersick during the tim e thatshe
         thoughtthe meters were disabled and while the m eterswere in factstillem itting

         EMF/RFR. Plaintiffalso ethernetwired herhouse to avoid W iFiem issions exposure.

                   43.    Extensive medicalevaluations have failed to find al
                                                                            ternative causes for
                                                          9



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               the majorityofPlaintiffssymptoms,allreasonable alternative causes have been ruled
               outand Plaintifrs doctorhas rendered a causation opinion forexposure to the sm art

               meteremfssions.
                                                         COUNT I

                                 FAILURE TO W ARN AND/OR CONCEALM ENT OF A
                                     POTENTIALLY DANGEROUS CO NDITION

                      44. paragraphs1-43arereallegedandincorporatedherein.
                      45. DefendantVa.Powersubjectedthe Plaintifftoan involuntarywireless
               technology experim entwithoutherknowledge orconsent.

                      46.
                        '     Dèfendanbvaktîpowerknew orhad reason to know thatsm artmeter
           .   technology iscontroversial,thatEM F/RFR emissionsfrom such devices are potentially

               harm ful,and thatm any adverse health effects were being reported,and thatsuch
               devices involve an unreasonable risk ofharm to the Plaintift

                      47k    DefendantVa.Powerfailed to exercise reasonable care to make safe or
                                                                                       '
                                                                               ... .
-
      ;
      '.).Warn ofthe condiiion and risk,and,in fact,deliberately hid the installation ofsuch
    .-.

                                                    ..   .              .
                                                                         .            ) '
                                                                                        .
                                                                                        .q


               devièe.on-plàinti/ é.hom e'
                                         .i
                                          l'
                                           r-.'
                                              ...                                -
                                                              . ,   .             g-v .. ..
                                                                             .. . .           .
                      48.    Plainti
                                   ff.did notknow ofsuch risk and could nothave any reason to know

               orperceive such rlsk.
                      49.    DefendantVa.Powerintentionally and knowing'concealed the installation

           ofthe sm artmeterbytrick or.artifice to avoid controversy and opposition.

                      50. DefpndantVa.Powerfailedtodiscloseto Plaintiffthatexpertand
           scientific study results differas to the risks ofharm and biologicaleffects thatm ay result

           from smad m eteruse.

                                                             10



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                                      51.   DefendantVa.Power's failure to warn pnd concealmentofthe sm art
                             meterinstallation wasthe proxim ate cause ofPlaintiffs exposure to EMF/RFR

                             emiésionsandconsequentinjury.
                                      52. DefendantVa.PowerIstherefore Iiableto PlaintiffforaIIinjuriessuffered
                             asa resultofexposure tothe smgrtmpterEMF/RFR emissjons.
                                                                                         .        . '
                                                                                     .

                                                                                             cöbN# 11
                                                       ACTUAL OR CONSTRUCTIVZ FM UD
                                      53. Parigraphs1-52aie realleged a'
                                                                       nd incorporated herein.
                                                                   .. . .'       ..
                                                                                                  . ..
                                                                                                         . .          .           .,               .           ., .           ..
                                                                                                                                                                                       ''
                                                                                                                                                                                                .           .
                                                                                                                                                                                                            ,
                                                                                                                                                                                                j.
                                      54. DefendantVa.Powqrhas the authority to installelectric m etering devices
              :z,;on.residentialstructures to monitorelectricityusage and billforservices. Va.Power
                                                                                                                           '
                                                               ,                                              .           '.    .- =               '                                                    '
                                                                   .                         .                    .                                                                                 .       r.

                             has always represented such devices as safe and effective and traditionalmeters are in
               .     .'
                             such'wideusethat,electricusershavecoàletoexpectatraditionalmeter'installption.
                                                                   .         .                                                                                                                              z . ..   .
                                                                                                                                                                                                ,
                                  '
                                      55:   W ithoutnotice to Plaintiff,DefqndantVa.Powersubstituted sm artm eters
                                                          .   ..r..:..
                                                                     ;.-                     4*          '.   - '-
                   ''
              -'
               L
               ji
               ïbk
                 L
                 b
                 k
                 )ïforthetraditionalmeterson Plaintif/shomeand barn.
                         -
                                                   .


              , ''
                                                              .                  7...
                                                                                    j.
                                                                                    '                    .-.'.                                         .         .          ....       .... .
         ''
                   lJ
                    uï1'2?%.
                           în''-56:-..W ithoutnotice,DefendantVa.Poweris deem ed to have constrùctively
                                                                        .        .           U
-
         . ':
    -      ' '
    ..      .
                             sepre'
                                  sented by'
                                           its actions to Plaintiffthatm eteringwillbe accom plished by safe and
                                                          '              Z. .                             '           'J =.'
                             traditionalm eans know n fordecades to be safe.
                         ' '
                             '
                             =''''57..,. DefendantVa.Power's ins'
                                                                tallation ofsm artm eterdevices which itknew
                                                                                                   1' '-                               .. .                '          e'-
                                                                                                                           .                  ..
                     '
                          to'be vely differentfrom traditionalmetering devices,and performing functions in a
                                                              .                                                                   -
                                                   .               '                              '.
                                                                                                  .           . .               ..
                                                                                                                               .-                                                  .   .
                                                                                             .
                     .
                         fundamentally differentm annercausing increased risk ofharm ,was a deliberate and
                          knowing m isrepresentation ofthe type ofservice ormetering thatwas being provided.

                                      58.   Knowing no differentand notbeing informed ofVa.Power's actions,



                                                                                                       11



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           Plaintiffrelied upon the ,long standing representation thateledric m eters installed on

           residentialhomes in general,and Plaintiffs home in padicular,were safe.

                         59. Oncethe smartmeterwasinstalled and discovered by the Plaintift
           Plaintiffwasinformed that(1)the metercould notbe removed;(2)wassafe:and (3)if
           moved atalIhad to be atPlaintifrs expense. These statem ents m ade by Va.Power

           employees were false,'known to be false and intended to m islead'plaintiff.
                                                                                    '
                                    .
                         60.    Plaintiffrelied on these representations and began a long.procqss seeking
           an exem ption to the experim entalVa.Powerprogram ,and to geqk alternative m etering,
                                                                                        .




           which greatly delayed the ul
                                      timat: rem oval'ofthe m eters an4 caused fudherexposures
           untilaftercounselintervened.

                         61. '
                             : Even afterthe Defendantrepodçdly disablqd the transm i
                                                                                .   tting function of

           the sM artm eter>,PlaintiffIearned from Defendant's.represpntati
                                                                          vewthatthe meters
 jr
  t. Wbre-in factstilltransm itting data using the RFR functlonaljty...Defendants once again
 l:
  à;
   ),
    )
    t'.tnaterially misrepresented the status @nd condition ofth4 m eterszai.disabled,and
..
     2'
      #1
       7.sinstead the m etersw ere stillcoplinuing to canse harm to.plaintiffand herfam ily.
                                                       .                                    .u



           '' ' -
                    ,w   62. Again,Plaintiffreliqd- op-the false and m islqading misrepresentation that-,
                                                   .                                                            . ,,s   .........xt.....r.


           the transmitting capability ofthe;m eters had been disabjed,and proceeded on a quest.            -            .
                                                                                                                        . . .
                                                                                                                                .   - ;,-

     . .
           to-find othercausesofthe illnesses,-while the m eters were.actually stilltransm itting and

           em itting RFR,aIIto Plainti
                                     ff's detrim ent.

                         63.' 'Defendantvak'Power's mis-representatioisahd-fraudulentactswerethe 4.-,. ,y.: s ..
                                                                                                       .
                                                                                                        .
                                                                                                                          .         .
                                                                                                                                        -
                                                                                                                                            '




           proximate cause ofPlaintiff's injuries,and Defendantisliable to Plalntiffforv
                                                                                       allsuch
           provable injury caused by DefendantVa.Power'sfraudulentactsand
           m isrepresentations.

                                                            12



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                                         CO UNT III

                                      NEGLIGENCE

         64. Paragraphs1-63are realleged andihcorporatéd herein.
         65. DefeidantVa.Powerhad a dutyto Plaintiff,atalItimes,to actreasonably
  inthe exercise oftheirbroad utility authbrity,aùd to exercise such'authority in a m anner -
  such as to notcause harm orunreasonable risk ofharm to otherpersons and users of

  theirelectricservices.
         66.. DefendantVa.Powerbreached theirdutyto Plainti
                                                          ffby installing,without

  warning,noticeorconsent,acohtrovertialand jotentiallkharmfulsmartmeterdevice .
  on Plaintiff's residencel'

        67. DefendantVa.Powérknew thatsuch sm artm eterdevices operated
 differently from ordinàry'
                          m eters and khèw that,ùnliké ordinary metefs,continuously

 qlpitted pulsing EM F/RFR.
        68.. Upon ihformation and belief,èDefendéntva.Powerhad failed to prôduce,.-'
                                                                                   .z

 fund orconduct-adqquatewstudies ofthè safetyofsuchsm ad deviceà on its own,and if'-.
 so,did notproduce,inform orm aky'av'
                                    ailable such studies to Plaintiff. Indeed,

 DefendantVa.Powerinformed Plaintiffin a February 2013 letterthatVa.Pow:rwas

 ''studying''reported health concerns;and furtherinformed Plaintilv
                                                                  thatthe installation '
                                                                                       of'- - .,n'Tu- -..
 smartm eters on herhome was pad ofan 'experiment''by Va.Power.Notwithstanding

 these statem ents'
                  ,Va.Pow erperbbànelcontinued to assertthatsmartm eterswere
 ''
  com pletelysafe.''

        69.    W ithoutadequate and com prehensive testing ofsuch devices,Defendant


                                            13



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  Va.Powqrem barked upon installation ofsmartm eters by experim entaimed prim arily to
  serve its own purposesto measure electrici
                                           ty usage and notintended to m easure,

  monitororèvaluate adverse.hum an effects on potentially sensitive people.
        70.    DefendantVa.Powerfailed to investigate alternative Iocationsforthe

  sm artl eteron Plaintiffs residence,and Iocated such meterIess than two feetfrom the
  workdesk and bedroom ofPlaintiff,thereby increasing the exposure to Plaintiffand not

  allowihg fora safe distance orzprotective barrierto such exposure.
               DefendantVa.Powerthen furthered its own purposes by opposing,

 challenging and resi
                    sting com plaints orconcerns by Plaintiffand herfamily who
  representedtoDefendantthat'theywereadverselyimpactedbytlesmartmeters.
        72. W hen Defendantfinally agfeed to disable thq transm itting function on the

 smartmeters,Defendantassumed a dutyto perform the actwith reasonable care.

 AyèrDefendantpurportedlydisàbledthetransmittingcapabilitiesofthemeters,the
 metbrswère found to stillbe transm itting..
        73.'.. Defendantknews.
                             or-should have knownthatthe meters were still
                                         .




 transm itting data,.apdzthe Dèfendantbreaph i
                                             ts.
                                               duty.,Plainliffthoughtthe meterswere
                                                  .




 disabled,and she was confused aboutwhy she and herfam ily were stillill. Plaintiff

 pursued #very possible course ofiqvvs
                                  /
                                      tigation and treatmentto find'outwhy she was
                                                                               .

 stillsick,allw hile the m ejerswqre stilltransm itting data aftershe wàstold by Defendaht .
 thatthe meters had been m odified.

       74. The above actions ofDefeqdantVa.Powerbreached theirdutiesto
 Plaintiffto exercise it& authority in a reasonable m annerso as notto cause harm .
        i                                    n


       75     The above breachesofdutybyDefendantVa.Powerwere the prokimate
                                                 14



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                       @




  causeofthe injuriesto Plaîntiffand DefendantVa.PowerisIiable to PlaintiffforaIlsuch
  injuriescaused thereby.
                                 RELIEF REQUESTED
        Plaintiffasks the Coud to award Plaintiffsuch dam ages ab are appropriate for

  medicalinjury,painandsuffering,emotionaldistressand othercompensatol damages
  asmaybeproperin theamountof$3,500,000.00and such otherdamagesasthe
  Coud m ay deem proper.
                            A JURY TRIAL IS REQUESTED

                                               Respectfully submitted,

                                               Donna Kinsey
                                               By counsel



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 August20,2015




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